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 1                                                                           Judge Ronald B. Leighton

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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
 7

 8   UNITED STATES OF AMERICA,                    )
                                                  )       NO. CR18-5579RBL
 9                  Plaintiff,                    )
                                                  )       MOTION TO SEAL
10          vs.                                   )
                                                  )
11   MICHAEL JOHN SCOTT,                          )
                                                  )
12                  Defendant.                    )
                                                  )
13          The Defendant by and through his attorney, Amy I. Muth, files this Motion to Seal.
14          The Defendant hereby requests that the Defendant’s Sentencing Memorandum, which
15   will be filed under seal following this motion, be allowed to remain under seal due to the
16   sensitive information contained therein.
17          DATED this ___ of January, 2020.

18

19                                                Respectfully Submitted,

20
                                                  s/Amy I. Muth
21                                                AMY I. MUTH, WSBA #31862
                                                  Attorney for Defendant
22                                                Law Office of Amy Muth, PLLC
                                                  1000 Second Ave, Ste 3140
23                                                Seattle, WA 98101
                                                  (206) 682-3053
                                                  amy@amymuthlaw.com
24

25
     MOTION TO SEAL                                                 LAW OFFICE OF
     PAGE 1 OF 1                                                    AMY MUT H, PLLC
                                                             1000 Se co nd Ave nue, Suite 3 140
     CR18-5579RBL                                              Seattle, W ashi ng to n 98 14
                                                                   TEL: 206-682-3053
             Case 3:18-cr-05579-RJB Document 1022 Filed 01/17/20 Page 2 of 2



                                      CERTIFICATE OF SERVICE
 1
            I hereby certify that on January ___, 2020, I electronically filed the foregoing with the
 2
     Clerk of the Court using the CM/ECF system which will send notification of such filing to all
 3
     counsel of record.
 4

 5                                                s/ Amy Muth
                                                  Amy I. Muth, Attorney
 6                                                Law Office of Amy Muth, PLLC
                                                  1000 Second Avenue, Suite 3140
 7                                                Seattle, WA 98104
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     CERTIFICATE OF SERVICE                                         LAW OFFICE OF
     CR11-0052RSL                                                   AMY MUT H, PLLC
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